                    CASE 0:22-cv-00974-NEB-BRT Doc. 1 Filed 04/15/22 Page 1 of 13




                                                     COURT APR 15
                                                                                                         ?il22
                               TINITED STATES DISTRICT
                                    DrsrRrcr oF MTNNES'TA ,t-liriiJ,ffilil:Js$:-'
\Ar   rc*e.rr,
          GucrrER
                                        Plaintiff(s),

        VS.


?u.BLrc t(ousrNl AGeucy
T?Ge-\ Gtru DoR€€ '
 Yrnr: t\4ouA
Loe, ruft Se€RANo                                                    DEMAND FOR ruRY TRIAL

DerArNq". McCo(fl'tK                                                         ves|Z|
                                                                                ,a\
                                                                                           No_fI
                                   Defendant(s).

       (Enter the fulIname(s) of ALL defendants in
       this lawsuit. Please attach additional sheets
       if necessary).


                                                    COMPLAINT

       PARTIES

       1.     List your name, address and telephone number. Do the same for any additional plaintiffs.

              a.   Plaintiff

                   Name     \$ltugerz-T GeoveR
                   streetAddress Lt
                                    3s uNr[€K5 f Ty Ave Nu€ €friT
                   county, city
                                 RaOtg €y   t 5T-€nrr-
                   State&   zipcode
                                      l{truN gso7A     55t3ql                                +    L++3-7
                                                     r
                   relePhoneNumber
                                      6s ( - 3 "{ ( G C)5?5                                         CANN
                                                                                                  APR 1   5 2022
           CASE 0:22-cv-00974-NEB-BRT Doc. 1 Filed 04/15/22 Page 2 of 13




2.   List all defendants. You should state the full name of the defendant, even if that defendant is
     a government agency, an organization, a corporation, or an individual. Include the address
     where each defendant may,be served. Make sure that the defendant(s) listed below are
     identical to those contained'in the above caption.

     a.   DerendantNo.    I ? tt B Lr C ttcr.S r N?                           Ac)€N Cy
          Name


                      555 wAbAS ltn TtZd.
          StreetAddress                         \foaTH
          counry,ciry
                      RanSEl/ | 5T, PAO(-
                        M,nrnr6sdTn 55 tc>z- lo\?
          State&zipcode
     b.   Defendant No. 2

          Name          Te-BAr Grr.t boa€f
          Street   Address
                              SO5         wftts*>ktq                    {ce{,                     flo{(:rh\
          counrv,citv (nntSe.1 - S-T. pn-,e
          State&zipcode        MtN fV,g_$T^ 53 1OL - (O t-l
     c.   Defendant No.   3


          Name                /rlrG Moofr,
                                                             tttt s-T(Lze1 ,                      N    orrT;\
          StreetAddress
                              s^ss      NP\GHS
          county,city
                             RnfhS€Y                      >T            ?a.lq--
          state& zipcode
                              M, MA/g)d-(ft                     sstoL lorJ
NOTE: IF' TTIERE ARE ADDITIONAL PLAINTIF.F.S OR DEFENDANTS, PLEASE
PROVIDE THEIR NAMES AND ADDRESSES ON A SEPARATE SIIEET OF PAPER.
Check here if additional sheets of paper are attacheOtX
Please label the attached sheets of paper to correspond to\he appropriate numbered
paragraph above (e.g. Additional Defendants 2d.,2.e., etc.)
  CASE 0:22-cv-00974-NEB-BRT Doc. 1 Filed 04/15/22 Page 3 of 13




           ,4bDflroNAL- b"furuDn,VT
                                 ZD
                                 {--


          -.hNo D"G^rcl aiv-l Mo -i
 c-oRlr,In s€c               r

-IS5 WnbAsHn Srrzs.fl Norartr
 KxrvtSe./ Sl.                         Pnu      L
[|4tNN€-sill-R SS                toL - ro{-f

DcA€nbnNIf j6-5
J). M rrrJ 9u. /V,e- Qotannrck
5sS ln/*bRst-\ n srreeeT NorcTH
RnMseT s-i-. ?nul
 M tNrhsfl(q                <s(oz (orJ
              CASE 0:22-cv-00974-NEB-BRT Doc. 1 Filed 04/15/22 Page 4 of 13




JURISDICTION

Federal courts are courts of limited jurisdiction. Generally, two types of cases can be heard in
federal court: cases involving a federal question and cases involving diversity of citizenship of
the parties. Under 28 U.S.C. $ 1331, a case involving the United States Constitution or federal
laws or treaties is a federal question case. Under 28 U.S.C. $ 1332, a case in which a citizen of
one state sues a citizen of another state and the amount of damages is more than $75,000 is a
diversity of citizenship case.

3.   What is the basis for federal court jurisdiction? (check all that apply)

                      Question          n    Diversity of Citizenship
          ffF"a"rur
4. If the basis for jurisdiction is Federal Question, which Federal Constitutional, statutory or
     treaty right is at issue? List all that apply.


                                   2X U,s.C + tZV                                  t


5.   If the basis for jurisdiction is Diversity of Citizenship, what is the state of citizenship of each
     prty? Each Plaintiff must be diverse from each Defendant for diversity jurisdiction.

     Plaintiff Name:                                     State of Citizenship:

     DefendantNo.      1:                                State of Citizenship:

     Defendant No. 2:                                    State of Citizenship:

     Attach additional sheets of paper as necessary and label this information as paragraph
     J'
                     Ai+:^-^f -r,^^+-                      - l-l
     Check here if additional            ^-
                                      of paper
                              sheets ^f        are attached. l_r

6.   What is the basis for venue in the District of Minnesota? (check all that    appfi

                          reside in Minnesota I        Facts alleged below primarily occurred in
          (VfDefendant(s)
          I
            -                                         Minnesota
          nother: explain


STATEMENT OF THE CLAIM

Describe in the space provided below the basic facts of your claim. The description of facts
should include a specific explanation of how, wherc, and when each ofthe defendants named in
the caption violated the law, and how you were harmed. Each paragraph must be numbered
      CASE 0:22-cv-00974-NEB-BRT Doc. 1 Filed 04/15/22 Page 5 of 13




separately, beginning with number   7.   Please write each single set of circumstances in a
separately numbered paragraph.

, ?h,tT,ff\              WLEITU GrcvqZ                        Cr(-(&t4                lTeFert 7o
  socrftL J€curt,9 rcr ANa 7ile Deve/ovnerleL
 4 s Ab t I rt rc> Strzvt c€1'. A^/0 fac t /tTt€s coufrtu il,op
      r

 /4nD/48^tTS                €/tV$rliy W //axtN.
                 "t^-tqzo
ft9)B-Ta rtc€ Se<7ro nt g
                                Don[, I rIy aereqf,cftTort
                         Thrrn(k                        WrcBerLT           Gtov€(z oq Faa,lrf
l0eotbert 42e DtsnL(eD AuD Ttte Drsnb tl r-ry /
Cause D Fnl urte ao *D
                   fi    A u,,tiT By ? -iz- zozo
 Tu, n*y be €/q6/e Foe 4N rt00,7,o,,tt( eo
Dky €lTertsraN n (€*torvnble rqeeon4noDtrTpx)
Attach additional sheets of paper as necessary. __-1/
Check here if additional sheets of paper are attacheAt|)([
Please labet the attached sheets of paper to as Additional Facts and continue to number the
paragraphs consecutively.


REQUEST FOR RELIEF

State what you want the Court to do for you and the amount of monetary compensation,          if   any,
you are seeking.


                              ,f /0, wo , slo . oQ
                              Co/f p€n)SaTorLy , frrp,Trre
                         4N0                 No      /Yt   nt4L 0nqA?6S'
        CASE 0:22-cv-00974-NEB-BRT Doc. 1 Filed 04/15/22 Page 6 of 13




o        PnRA?KapH g

                     oLl &,/ 99, aoat ph,otvffi,
        t1r1
                 GnYen (eeeMeD A /eVe(
               rcGerLT
         {zo"( PuBLro /{ous,r? fl*eaey
        t@2
        t-
              1 6,uboBlP STaTeD Vt+t
        f/ArarV€\ Ntt9rrtt &orcrz Hnre
    t'. rt)                  A .-t
    Yl(o?zaa ft6u;e
I   I


             Pt+rffrnfk W/tn€zr
    i
    Gtol& ca(L pu,Gjc y'octsrM?
    i4 e€^(oy TeRRr €,ubozff, T
    isr,+reD n/ il/irtl'€ n^/a a uaravr
    k"?4a Abuse TeEr €ruhatr
                   (r 4U
    SA:O                         7uu B/ack              Ffle                 HEe
    flLrke o(- ile &ft/€                                TzyrN?               ?<>
    Defrqv.D 7Te €oter(lueMT                                            r,

    r A* z w4                              To tlert )ctp111,$/e_
     CASE 0:22-cv-00974-NEB-BRT Doc. 1 Filed 04/15/22 Page 7 of 13




     Po*a3eptl               ?.

     PuGLtc Hac,uu? A6€Ncy kreel
     CwDoe€f //aM? up Eeaut/rreD
     fl€ ct(I-                  pUrvtri      €fs Mckzt
    Czov€ft cA(L A4<4 6st 2?B e?6
    Tz,<1 Qr,urtorzff lgtD /;rls>
    ,STnrrT ol€Z ,4?4ril - FLA^n{Ti
I    w/tq6q cLo@ s(b nf/ z
     Spenk % foc:n.Boas *p</rNr(
    7eaftt Gu,borz# &@ foa
    ,*a"k,,4$ F//e lvGD 70 6o
    .,},q"k n/e(E
                  /ou oo///€ frorq
    Ar(O 7e<ntr/^/n7e0 V+e C1U- AfAn/
    z e,q// ,&eK a74n/ ANa s>r4s
    Oftl €rL /4 Ay
                   ?4t/€ /h€ ZE .Wrqs:
I   Y,   ru?    lavT ?zo74Aq < 4*rWf€< -
             CASE 0:22-cv-00974-NEB-BRT Doc. 1 Filed 04/15/22 Page 8 of 13




 I            ra,aT+aprr /o                                                  I




         p4ttrr{T3 /// tqacr G co v{<
         .


        i/eft A Vote€ r,/./HrL o/U Hert
         i




         I




        i/t/v€ sT+TeD r'z( r ouhrrtT
        jxa lLL you ,G4"t p€op/€
        '48t ALrlf€ ol 74e sArvz Z/rr
        '.% Ce/ed Vle Al€Krv,tle^ry_
        l--


       " t-\

|      ,P/-4dTffi'-s l,(/cB€/J Cuv€fz_
       |A/* Le/z I hre€ rh/tila o^)
             &/-lN 63/ 2?E so7?
     ^'su€
       Phr ro',tr s tr( cgerrl G6ov e rL /

       .f,/so Letrf
                  ,4 lote€ fr,UL O4)
 * hortlrrVr?()e ///C CofZryrck Ze
   'Dtftso7oK Pt*u€ t@ vac€ ftr,r(
    rVo 4rvsrrer-Z p€t6€ To
                             AOk6
t DuBLre &rzwcEs &ce ol Ryce.
      r-,Drs       CRrarNATron) -
            CASE 0:22-cv-00974-NEB-BRT Doc. 1 Filed 04/15/22 Page 9 of 13




I               ii
                (AAA3(A?H             t|   ,


            I r/^-./- , ,
            I


                                -     )
            irVole46er(
            I
                                    I, Aot1 Tercrc /
            G,u,DorLPf S€uA                          /_<,vD LodD
        !rtk*ert //ant&eKu/o( A tun/L
        i



        W He S74ys 6eyona4 7He
        i/7
                                       DqTe - ,eesVNsrtte
        i7r,^/AVoat
    6e
    i
                     zrle      fi// lGtvT
I
    I
    l
    I




    iMVerqbere S/ eoz/ l/once o€
    i::^,rO-ftoN-
                  hrarvT  a/o /w7erc
    'r,LLletpLe {on
                  k;>tsTanfte fr.na
    ,[ere7 Gwborz{T Mee 7Ve
    I4mre-,r? € Mo7 AbooT hc, rqeatT
      tlea B r4s D,scrtt/q r(rt%
    I
                                 ry
    ,Cctn/Ouca
                CASE 0:22-cv-00974-NEB-BRT Doc. 1 Filed 04/15/22 Page 10 of 13




I   l?aeaS,tap4 A.
    lg.eabeB 7, 4o2l Pa,nr{Ts
    lW
       t, tseet Ctolefz 7M Foarnn L
    LDocunr%[Ts % &rztuA Eac&uo
    I




    iH cV Prtn?&lhs rL&u n7e ( glov'feD
    I




    'tpol            ree        kfltr             WTH A{nDav,T
    |=Deffiry 7rlefr kQ>eez
        I




        €t{E Drsnbr hry CAznne+7ronl
I   I{/E
    la,uA Vle arrftrcruAVoN TarLet
        I




    Q,rrDoe(f ObfnrN WA= 761/gQLrWe
           eVqa sHE AND fu'OL,c /{ocs,M?
        tHow
            I




                 S7,q{T W*s An7 rey,^/?
        lACr^ley
            f% tlesrt 4
            i                               "Btae4 Af(?D 4,trerereaM
            \
                mPnt oause Drse(,r4, ilt47o Ly
            I




            'UCoaDucT^

I
        CASE 0:22-cv-00974-NEB-BRT Doc. 1 Filed 04/15/22 Page 11 of 13




    I    .Pouqenpil /3.
         ".Do 4rN
                        Qu, /4o Co(z.rh,cK rtle
          4D    n,r{rs Wa To o FA r L
         -,rq//v frrb
                                      orze                        %
         Dn /, bertan e / FuD,
                                      qsvlo€Krl         s€        eause
                         y          €erce uT
         6 Trle Dr-sc'/? 14 rr/A,To n_y
                                        cou a<r
                                      r    r


        ryVeBat o€ urv CousV4rtTrou                                4L
I       "EeHArorz          -
        ,R/ nrLurze Fzorrka CusZl4€K_
        Qrzw e€s KeeSoMable
                            4ceonrruoo
        rtVoat o€ 4 O,seLr (try
CASE 0:22-cv-00974-NEB-BRT Doc. 1 Filed 04/15/22 Page 12 of 13
         CASE 0:22-cv-00974-NEB-BRT Doc. 1 Filed 04/15/22 Page 13 of 13




Signed   this15        dayor   Aptl_Zol,U
                       Signature of Plaintiff

                      Ma'ingAddress        LfzS u N \v aas,Ty Av€Arer3
                                            sn pe"il__ r |tA(\ ss(3 f^s
                      Telephone Number


                                       GSI 34                 [     oS-75
Note: All plaintiffs named  in the caption of the complaint must date and sign the complaint
                                                                                             and
provide his/her mailing address and telephone number. Attach
                                                               additional sh-eets of
                                                                                  Daper as
necessary.
